Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 1 of 6
Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 2 of 6
Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 3 of 6
Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 4 of 6
Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 5 of 6
Case 16-18230-mdc   Doc 50   Filed 01/09/19 Entered 01/09/19 11:09:04   Desc Main
                             Document     Page 6 of 6
